                                  Case: 1:18-cv-05369 Document #: 2 Filed: 08/07/18 Page 1 of 2 PageID #:179
ILND 44 (Rev. 07/10/17)                                                            CIVIL COVER SHEET
The ILND 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose
of initiating the civil docket sheet. (See instructions on next page of this form.)
I. (a) PLAINTIFFS                                                                                                          DEFENDANTS
    Ubiquiti Networks, Inc.                                                                                                Cambium Networks, Inc.; Cambium Networks, Ltd.; Blip Networks,
                                                                                                                           LLC; Winncom Technologies, Inc.; Sakid Ahmed; and Dmitry Moiseev
    (b) County of Residence of First Listed Plaintiff New York County, NY                                                  County of Residence of First Listed Defendant                         Cook County, IL
                                         (Except in U.S. plaintiff cases)                                                 (In U.S. plaintiff cases only)
                                                                                                                           Note: In land condemnation cases, use the location of the tract of land involved.

    (c) Attorneys (firm name, address, and telephone number)                                                               Attorneys (if known)
    Elizabeth B. Herrington, Morgan Lewis & Bockius, LLP,                                                                  Unknown
    77 West Wacker Drive, Chicago, IL 60601 (312) 324-1000


II. BASIS OF JURISDICTION (Check one box, only.)                                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (For Diversity Cases Only.)
                                                                                                                   (Check one box, only for plaintiff and one box for defendant.)
    1     U.S. Government                ■   3 Federal Question                                                                                     PTF       DEF                                                    PTF         DEF
            Plaintiff                            (U.S. Government not a party)                                     Citizen of This State                 1         1 Incorporated or Principal Place                  4            4
                                                                                                                                                                       of Business in This State

    2     U.S. Government                    4 Diversity                                                           Citizen of Another State                2           2    Incorporated and Principal Place           5              5
            Defendant                           (Indicate citizenship of parties in Item III.)                                                                              of Business in Another State

                                                                                                                   Citizen or Subject of a                 3           3    Foreign Nation                             6              6
                                                                                                                     Foreign Country
IV. NATURE OF SUIT (Check one box, only.)
             CONTRACT                                                     TORTS                                        PRISONER PETITIONS                                  LABOR                         OTHER STATUTES
    110 Insurance                            PERSONAL INJURY                   PERSONAL INJURY                        510 Motions to Vacate Sentence           710 Fair Labor Standards Act            375 False Claims Act
    120 Marine                                310 Airplane                      365 Personal Injury -                 Habeas Corpus:                           720 Labor/Management Relations          376 Qui Tam (31 USC 3729 (a))
    130 Miller Act                            315 Airplane Product                   Product Liability                530 General                              740 Railway Labor Act                   400 State Reapportionment
    140 Negotiable Instrument                      Liability                    367 Health Care/                      535 Death Penalty                        751 Family and Medical                  410 Antitrust
    150 Recovery of Overpayment               320 Assault, Libel & Slander          Pharmaceutical                    540 Mandamus & Other                         Leave Act                           430 Banks and Banking
        & Enforcement of Judgment             330 Federal Employers’                Personal Injury                   550 Civil Rights                         790 Other Labor Litigation              450 Commerce
    151 Medicare Act                              Liability                         Product Liability                 555 Prison Condition                     791 Employee Retirement                 460 Deportation
    152 Recovery of Defaulted Student         340 Marine                        368 Asbestos Personal Injury          560 Civil Detainee – Conditions              Income Security Act                 470 Racketeer Influenced and
        Loans (Excludes Veterans)             345 Marine Product Liability           Product Liability                     of Confinement                                                                  Corrupt Organizations
    153 Recovery of Veteran’s Benefits        350 Motor Vehicle                                                                                                                                        480 Consumer Credit
    160 Stockholders’ Suits                   355 Motor Vehicle                   PERSONAL PROPERTY                                                             PROPERTY RIGHTS                        490 Cable/Sat TV
    190 Other Contract                            Product Liability               370 Other Fraud                                                              820 Copyrights                          850 Securities/Commodities/
    195 Contract Product Liability            360 Other Personal Injury           371 Truth in Lending                                                         830 Patent                                  Exchange
    196 Franchise                             362 Personal Injury -               380 Other Personal                                                           835 Patent – Abbreviated                890 Other Statutory Actions
                                                  Medical Malpractice                 Property Damage                                                              New Drug Application                891 Agricultural Acts
                                                                                  385 Property Damage                                                          840 Trademark                           893 Environmental Matters
                                                                                      Product Liability                                                                                                895 Freedom of Information Act
                                                                                                                                                                                                       896 Arbitration
          REAL PROPERTY                          CIVIL RIGHTS                        BANKRUPTCY                       FORFEITURE/PENALTY                         SOCIAL SECURITY                       899 Administrative Procedure
    210 Land Condemnation                     440 Other Civil Rights              422 Appeal 28 USC 158               625 Drug Related Seizure                 861 HIA (1395ff)                            Act/Review or Appeal of
    220 Foreclosure                           441 Voting                          423 Withdrawal 28 USC 157               of Property 21 USC 881               862 Black Lung (923)                        Agency Decision
    230 Rent Lease & Ejectment                442 Employment                                                          690 Other                                863 DIWC/DIWW (405(g))                  950 Constitutionality of
    240 Torts to Land                         443 Housing/                                                                                                     864 SSID Title XVI                           State Statutes
    245 Tort Product Liability                    Accommodations                    IMMIGRATION                                                                865 RSI (405(g))
    290 All Other Real Property               445 Amer. w/Disabilities -          462 Naturalization Application
                                                  Employment                      463 Habeas Corpus -
                                                                                      Alien Detainee
                                              446 Amer. w/Disabilities -                                                                                          FEDERAL TAXES
                                                                                      (Prisoner Petition )
                                                  Other                           465 Other Immigrant                                                          870 Taxes (U.S. Plaintiff
                                              448 Education                           Actions                                                                  or Defendant)
                                                                                                                                                               871 IRS—Third Party
                                                                                                                                                                    26 USC 7609

V. ORIGIN (Check one box, only.)
■       1 Original                2 Removed from                 3     Remanded from                       4       Reinstated or              5    Transferred from               6    Multidistrict        8   Multidistrict
          Proceeding                State Court                        Appellate Court                             Reopened                        Another District                    Litigation               Litigation
                                                                                                                                                   (specify)                                                    Direct File
VI. CAUSE OF ACTION (Enter U.S. Civil Statute under which you are filing and                                   VII. Previous Bankruptcy Matters (For nature of suit 422 and 423, enter the case number and
write a brief statement of cause.)                                                                             judge for any associated bankruptcy matter previously adjudicated by a judge of this Court. Use a separate
                                                                                                               attachment if necessary.)
18 U.S.C. 1030 - Computer Fraud and Abuse Act
VIII. REQUESTED IN                  Check if this is a class action under Rule                                           DEMAND $                                     Check Yes only if demanded in complaint.
      COMPLAINT:                    23, F.R.CV.P.                                                                                                                     JURY DEMAND:           Yes      No
IX. RELATED CASE(S) (See instructions)
     IF ANY                            Judge                                                                                                            Case Number
 X. Is this a previously dismissed or remanded case?                         Yes         No If yes, Case #                                          Name of Judge
 Date                                                           Signature of attorney of record
 8/7/2018                                                      Elizabeth B. Herrington
                           Case: 1:18-cv-05369  Document
                                 INSTRUCTIONS FOR         #:COMPLETING
                                                  ATTORNEYS  2 Filed: 08/07/18  Page
                                                                        CIVIL COVER   2 of FORM
                                                                                    SHEET   2 PageID
                                                                                                JS 44 #:180
                                                                        Authority for Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of Court for each civil complaint filed. The attorney
filing a case should complete the form as follows:

I.        (a) Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use only the
full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then the official, giving both
name and title.

            (b) County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the time of
filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land condemnation cases, the
county of residence of the "defendant" is the location of the tract of land involved.)

           (c) Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting in this
section "(see attachment)".

II.         Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X" in one of
the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.

United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment to the Constitution,
an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes precedence, and box 1 or 2 should be
marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the citizenship of the
different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity cases.)

III.       Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this section
for each principal party.

IV.         Nature of Suit. Place an "X" in the appropriate box. If the nature of suit cannot be determined, be sure the cause of action, in Section VI below, is sufficient
to enable the deputy clerk or the statistical clerk(s) in the Administrative Office to determine the nature of suit. If the cause fits more than one nature of suit, select the
most definitive.

V.            Origin. Place an "X" in one of the six boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441. When the petition for
removal is granted, check this box.

Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.

Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or multidistrict litigation
transfers.

Multidistrict Litigation. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C. Section 1407. When this box is
checked, do not check (5) above.

VI.        Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional statutes unless
diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

VII.       Previous Bankruptcy Matters For nature of suit 422 and 423 enter the case number and judge for any associated bankruptcy matter previously adjudicated by
a judge of this court. Use a separate attachment if necessary.

VIII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P. Demand. In this space enter the actual
dollar amount being demanded or indicate other demand, such as a preliminary injunction Jury Demand. Check the appropriate box to indicate whether or not a jury is
being demanded.

IX.       Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket numbers and the
corresponding judge names for such cases.
X.          Refiling Information. Place an "X" in the Yes box if the case is being refiled or if it is a remanded case, and indicate the case number and name of judge. If this
case is not being refiled or has not been remanded, place an "X" in the No box.
Date and Attorney Signature. Date and sign the civil cover sheet.

Rev. 1 – 04/13/16
